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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-128 (RC)
                                             :
WILLIAM POPE,                                :
                                             :
                       Defendant.            :

GOVERNMENT’S MOTION FOR AN EXTENSION OF TIME TO OPPOSE WILLIAM
     POPE’S MOTION TO DISMISS DUE TO SELECTIVE PROSECUTION

       On January 2, 2024, William Pope filed a motion requesting dismissal with prejudice of

all the charges he faces. ECF 178. Pursuant to Local Criminal Rule 47(b), the government’s

opposition is due on January 16, 2024, the same day the trial of Michael Pope is set to begin. 1 In

addition to preparing for trial, the government is responding to three pending motions filed by

Michael Pope’s defense counsel. For these reasons, the government respectfully requests that the

Court grant an extension of time for the government’s response to William Pope’s Motion to

Dismiss. Specifically, the government is seeking to respond on or before February 2, 2024. This

is two weeks after the government expects Michael Pope’s trial will end. William Pope’s trial is

set to begin on July 22, 2024. William Pope opposes the government’s motion for an extension of

time in which to file the response.

                                             Respectfully submitted,

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1 The Court severed William Pope’s case from Michael Pope’s case on September 26, 2023.
ECF 148, Opinion and Order Granting Moton to Sever.
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